Case 3:18-cv-02862-M-BH Document 41 Filed 12/23/19 Page1lof2 PagelD 331

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

BERTRUM JEAN, individually and asthe §
surviving father of Bothan Shem Jean, §
ALLISON A. JEAN, individually and as the §
surviving mother of Botham Shem Jean,
and ALLISA E. FINDLEY as the
Administrator of the Estate of Botham
Shem Jean,
Plaintiffs, . .
v. es Civil Action No. 3:18-CV-2862-M
THE CITY OF DALLAS, TEXAS, and
AMBER GUYGER,
Defendants. |

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PARTIAL JUDGMENT

This action came on for consideration by the Court, and the issues having been duly
considered and a decision duly rendered,

It is ORDERED, ADJUDGED and DECREED that:

lL All of the plaintiffs’ claims against the defendant City of Dallas, Texas, are
DISMISSED with prejudice for failure to state a claim.

2. The taxable costs of court for the defendant City of Dallas, Texas, as calculated by
the clerk of the court, are assessed against the plaintiffs.

3. Under Federal Rule of Civil Procedure 54(b), the court expressly determines that
there is not just reason for delay and directs the clerk of the court to enter this as a final judgment
for the defendant City of Dallas, Texas.

| 4. The Cletk shall transmit a true copy of this Judgment and the Order Accepting the

Findings and Recommendation of the United States Magistrate Judge to all parties.
 

Case 3:18-cv-02862-M-BH Document 41 Filed 12/23/19 Page 2of2 PagelD 332

SIGNED this ? ) day of December, 2019.

ARA M. G. RYNN
IEF JUDGE
